      Case 20-03841         Doc 31      Filed 03/23/21 Entered 03/23/21 16:22:44                   Desc Main
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                                       United States Bankruptcy Court
                                    Northern District of Illinois, Eastern Division

IN RE: Ruby J. Adams                                      )             Chapter 13
                                                          )             Case No. 20 B 03841
        Debtor(s)                                         )             Judge David D. Cleary

                                                 Notice of Motion

    Ruby J. Adams                                                       Debtor Attorney: Semrad Law Firm LLC
    121 E. 87th Street                                                  via Clerk's ECF noticing procedures
    Chicago, IL 60619




On April 19, 2021 at 1:00 pm, I will appear before the Honorable David D. Cleary, or any judge sitting in that
judge's place, and present this motion, a copy of which is attached.

This motion will be presented and heard electronically using Zoom for Government. No personal
appearance in court is necessary or permitted. To appear and be heard on the motion, you must do the
following:
    To appear by video, use this link: <https://www.zoomgov.com/>. Then enter the meeting ID and
password.
    To appear by telephone, call Zoom for Government at 1-669-254-5252 or 1-646-828-7666. Then enter
the meeting ID and password.
    Meeting ID and password. The meeting ID for this hearing is 161 122 6457 and the password is
Cleary644. The meeting ID and password can also be found on the judge’s page on the court’s website.

If you object to this motion and want it called on the presentment date above, you must file a Notice of
Objection no later than two (2) business days before that date. If a Notice of Objection is timely filed, the motion
will be called on the presentment date. If no Notice of Objection is timely filed, the court may grant the motion in
advance without a hearing.

I certify under penalty of perjury that this office caused a copy of this notice to be delivered to the persons named
above by U.S. mail or by the methods indicated on or before Wednesday, March 24, 2021.


                                                                        /s/ MARILYN O. MARSHALL
                                                                        MARILYN O. MARSHALL, TRUSTEE
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                                              Document Page 2 of 2

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IN RE: Ruby J. Adams                                          )              Chapter 13
                                                              )              Case No. 20 B 03841
         Debtor(s)                                            )              Judge David D. Cleary

                          Motion to Dismiss Case for Failure to Make Plan Payments

Comes now Marilyn O. Marshall, Standing Trustee, and requests that this case be dismissed , pursuant to 11 U.S.C. §1307 [c]
[6], stating:

On February 11, 2020, the debtor filed a petition under Chapter 13 of the Bankruptcy Code which was confirmed by the Court
on March 30, 2020, for a term of 36 months with payments of $265 .00.

The status of the debtor's plan is:   Current Month         Cash Due          Cash Received       Payment Default
                                            13              $3,420.00           $2,400.00            $1,020.00

A summary of the 12 most recent receipt items is set forth below:            Report Date: 03/23/2021
                                                                             Due Each Month: $265.00
                                                                             Next Pymt Due: 04/12/2021

    Date           Ref Num            Amount                            Date          Ref Num          Amount
03/19/2020              798592         $240.00                      04/14/2020             800182       $240.00
05/08/2020              801488         $240.00                      06/18/2020            4620663       $240.00
07/20/2020              900049         $240.00                      08/10/2020             901020       $240.00
10/23/2020              901466         $240.00                      11/23/2020             902780       $240.00
01/05/2021              904249         $240.00                      02/01/2021             905847       $240.00

WHEREFORE, the Trustee prays that this case be dismissed , and for any and all other relief this court deems just and proper .

Office of the Chapter 13 Trustee                                             /s/ MARILYN O. MARSHALL
224 S Michigan Ave                                                           MARILYN O. MARSHALL, TRUSTEE
Ste 800
Chicago, IL 60604
(312)431-1300
